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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                                    CENTRAL DIVISION
                                       (at Lexington)
  UNITED STATES OF AMERICA,                          )
                                                     )
            Plaintiff,                               )   Criminal Action No. 5: 16-44-DCR-2
                                                     )
  V.                                                 )
                                                     )
  LILLIE MARCINE JOHNSON,                            )               ORDER
                                                     )
            Defendant.                               )

                                     ***     ***   ***    ***

       This matter is pending for consideration of Defendant Lillie Marcine Johnson’s motion

for re-arraignment. [Record No. 47] Being sufficiently advised, it is hereby

       ORDERED as follows:

       1.        Defendant’s motion [Record No. 47] is GRANTED.

       2.        The Defendant having moved for re-arraignment for the purpose of entering a

                 guilty plea, her previously-filed motion to suppress [Record No. 25] is DENIED

                 as moot. The Report and Recommendation regarding this motion as it pertains

                 to this defendant [Record No. 47] is ADOPTED and INCORPORATED by

                 reference.

       3.        Re-arraignment of the defendant shall be held on Saturday, July 23, 2016,

                 beginning at the hour of 11:00 a.m., at the United States Courthouse in

                 Lexington, Kentucky.




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      This 6th day of July, 2016.




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